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Deblor name 11380 SM|TH RD LLC
Uniled States Bankruptcy Court for the: DlS`l'RlCT OF COLORADO |Il Check lf this is an

 

Case number (if known): amended filing

 

 

Ofi'lcia| Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not lnsiders 12:15

A list of creditors holding the 20 largest unsecured claims must be filed In a Chapter 11 or Chaptler 9 case. |nclude claims which the
debtor dlspuces. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors. unless the unsecured claim resulting from Inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

 

 

 

l"|arne cl creditor and l'|entel telephone number Natura of claim tndlcate if claim Amount of cialro

complete mailing eddreae, end smell address of (I'or ammple. trade le contingent, ll the cla|m is fully unsecured, lll| in only unsecured c|e|m amount ll

including zlp code cmdltorcontzct debte. bank loans. unliquidatad, or claim is partially eewrod. till ia total claim amount and deduction for
professional services. disputed value ot collateral or setoff to calculate unsecured claim.
and UW€mrl'la"l\ Totai clalm, lt Deductlon for value Unsecured claim
contrer:lsl ganially secured of collateral or setoff

l-lenzel, Tim Loan $1,200.000.00

1510 Jadc Road

Co|urnbla_l, MO 65201

Xcel Energy Utllity services $32,000.00

P.O. Elox 9477

Minneapolis, MN

55484‘9477 L_

Oflicial form 204 Chapter 11 or Chapter 9 Cases: L|sl of Creditors Who Have the 20 Largesl Unsecured claims page 1

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